Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 1 of 26 PageID #: 7




     STATE OF RHODE ISLAND
     PROVIDENCE COUNTY, SC


     RICHMOND MOTOR SALES, INC.,
     and JUSTIN POTTER

           Plaintiffi,                                                                        C.A. No.: 2013-5407
     vs.

     PROGRESSIVE CASUALTY
     INSURANCE COMPANY a/k/a THE
     PROGRESSIVE CORPORATION,

           Defendant.

                                  AMENDED COMPLAINT AND JURY DEMAND

            NOW COME the Plaintiffs and hereby commence this instant action against the

     Defendant to recover monies due in accordance with Rhode Island State Law.

                                                                                    Parties
            1.      The Plaintiff, Richmond Motor Sales, Inc. (hereinafter "Richmond"), is a Rhode

     Island Domestic Profit Corporationwith a principal office located at 700 North Main Street,
                                                                                                                    .
     Providence, Rhode Island.

            2.      The Plaintiff, Justin Potter (hereinafter "Potter"), is a Rhode Island resident with

     an address of 129 Chestnut Hill Avenue, Cranston, Rhode Island.

            3.      The Defendant, Progressive Casualty Insurance Company a/k/a The Progressive

     Corporation (hereinafter "Defendant" or "Progressive"), is an Ohio Corporation engaged in the

     business of supplying products in several States, including the State of Rhode Island.

            4.      Plaintiffs Richmond and Potter will be referred to in their individual capacities or

     collectively referred to as the "Plaintiffs" where appropriate.


                                 Sltpn-,
                         ,....    ~     ._,.. 10 R COIJRT
                     :",, '~I,
                          "'._, vI 0-    FH. tO
                                         f.( • t._o ~ •
                                        · .. r,d H IR
                                                   •      J   '·•   Gl.   £p~
                         20{] NOll I 5 p                        .             ..,
                                                              /.t. I      I   .
                 Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 2 of 26 PageID #: 8




                                                                          Jurisdiction
                                    5.      This Court has jurisdiction over the subject matter herein pursuant R.I. Gen. Laws

                             § 8-2-14.

                                                                       General Allegations
                                    6.      Potter rented a 2010 HyUndai Sonata (hereinafter "Car") from Richmond on or

                             about AprilS, 2013. See Contract attached at Exhibit A

                                    7.      Richmond entered into the rental agreement with Potter after he produced a copy

                             of his Rhode Island State Driver's License and an Auto Liability Insurance Identification Card

                             issued by Defendant, attached hereto at Exhibit B. Richmond verified that Potter, minimally,

                             carried automobile liability insurance.

                                    8.      Richmond documented the physical condition of the Car in several photographs

                             taken in the presence of Potter, prior to his rental of the Car. See Walk-Around Form and fifteen

                             photographs attached with Contract at Exhibit A.

                                    9.      On or about April22, 2013, the Car, while in the custody and control of Potter,

.... , !..   •   •   •   ~   was damaged. as a res1.1lt,of a collision with another vehicle while it was traveling south on Huron

                             Street in Providence, Rhode Island. See Providence Incident Report and State ofRhode Island

                             Uniform Crash Report .attached as Exhibit C.

                                    10.     The Car was inspected by a Progressive appraiser on or about April25, 2013 and

                             declared a "total loss". See Appraisal Appointment and Vehicle Valuation Report attached at

                             Exhibit D.

                                     11.    The Car was towed to Dean Auto Collision Center and stored there until an

                             appraiser from Progressive inspected the Car. The cost for the towing of the Car was $277.00.

                             The Car is currently in storage and accruing storage fees at $24.00 per day, pursuant to




                                                                                2
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 3 of 26 PageID #: 9




      Regulation 73 of the Rhode Island Department of Business Regulation, Insurance Division. See

      Towing & Storage Fees a:ttached at Exhibit E.

                12.    Despite numerous attempts, Richmond has not obtained payment from the

      Defendant for the full ·value of the total loss of the Car.

                13.    To date, Richmond has not received compensation for the damage to the Car, as

      described herein.

                                                    COUNT I
                  (Declaratory Judgment as to the Violation of Liability Insurance Coverage)

                14.    Plaintiffs reallege and incorporate paragraphs 1 through 13 as if set forth fully

      herein.

                15.    Rhode lfsta.nd General Law§ 27-7-6 states that, "For liability assumed under a

      written contract, coverage shall be provided under the property damage liability section of an

      insured's private passenger automobile insurance policy. Property damage coverage shall extend

      to a rented motor vehicle, under ten thousand (1 0, 000) lbs, without regard to negligence for a

      period not.to exceed sixty (60) consecutive days."

                16.    Potter'sli11bility insurance coverage from Progressive extends to cover any rented

      motor vehicle based on State law; therefore, any damage to the Car must be covered by

      Progressive.

                17.    Progres:sive's failure to remit payment to Richmond the full value of the total loss

      of the Car as described\ h.erein, is in violation of Rhode Island General Law § 27-7 ··6.

                18.    As a direct and proximate result ofProgressive's failure to remit payment to

      Richmond for the full "Value of the total loss of the Car, Richmond has suffered damages.

                WHEREFORE, IPlaintiffs respectfully pray that this Honorable Court enter an order that

      provides as follows:



                                                          3
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 4 of 26 PageID #: 10




                 a. A declaration by this Court, pursuant to, and in accordance with, Rhode Island

                      General Laws § 9-30-1, et seq., that Progressive has violated Rhode Island General

                      Law§ 27-7-6;

                b. An award to Plaintiffs of any and all attorneys' fees, costs and other disbursements or

                      expenses incurred by Plaintiffs as a result of prosecuting the above-captioned matter;

                      and,

                 c. An award to Plaintiffs of such other further relief as this Court may deem fair, just

                      and equitable.

                                                  COUNT II
                         (Bad Faith/ Breach ofImplied Good Faith Against the Defendant)

                19.      Plaintiffs reallege and incorporate paragraphs 1 through 18 as if set forth fully

      herein.

                20.      Progressive's failure to resolve the claim associated with the damages sustained

      by the Car, asserted pursuant to Potter's insurance policy constitutes a breach of the implied

      covenant ()f good .faith and. fair dealing, as .mandated by State law,. and required under the terms.

      of the insurance coverage, pursuant to State law.

                21.      Progressive's actions,-as-described herein, are in violation of Rhode Island

      General Law§ 9-1-33.

                22.      As a direct and proximate result of Progressive's violation of Rhode Island

      G..::.neral Law§ 9-1-33, the Plaintiffs have suffered damages.

                WHEREFORE, the Plaintiffs demand judgment against Progressive for all

      compensatory damages provable at trial, interest, punitive damages, and all attorneys' fees, costs

      and expenses incurred in prosecuting this instant action, and any such other and further relief as

      may be deemed just by this Honorable Court.



                                                           4
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 5 of 26 PageID #: 11




                                                       COUNT Ill
                                                       (Damages)

                23.       Plaintiffs reallege and incorporate paragraphs 1 through 22 as if set forth fully

      herein.

                24.       As a result ofthe damages sustained to the Car or about April22, 2013, the Car

      was deemed a total loss and could no longer be rented.

                25.      As a direct and proximate cause ofbeing unable to rent the Car, Richmond has

      suffered damages.

                WHEREFORE, Plaintiffs respectfiJlly pray that this Honorable Court enter an order that

      provides as follows:

                 a. An award of damages compensating Richmond for its loss of use of the Car;

                b. An award of towing and daily storage fees for the storage ofthe Car at a licensed

                      repair facility to preserve it as evidence;

                 c. An award of damages compensating Richmond for the full value of the total loss of

                      the Car; ...                          .   ~   ..   '




                 d. An award to Plaintiffs of any and all attorneys' fees, costs and other disbursements or

                      expenses incurred by Plaintiffs as a result of prosecuting the above-captioned matter;

                      and,

                 e. An award to Plaintiffs ofsuch other further relief as this Court may deem fair, just

                      and equitable.



                                                     JURY DEMAND

                Plaintiff hereby demands a trial by jury, designating John 0. Mancini, as its lead counsel.




                                                                5
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 6 of 26 PageID #: 12




                                                                   Plaintiffs,
                                                                   RICHMOND MOTORS SALES, INC.,
                                                                   AND JUSTIN POTTER

                                                                   By and through their attorneys,




                                                                   John 0. Mancini, Esq ire (#6061)
                                                                   Nicholas J. Goodier, Esquire (#7858)
                                                                   Law Offices ofMichael A. Kelly, PC
                                                                   128 Dorrance Street, Suite 300
                                                                   Providence, RI 02903
                                                                   Tel#: (401) 490-7334
                                                                   Fax#: (401) 490-7874




      Dated: November_!a_, 2013




                                                                                         '.




      N:\Badway, Thomas\Progressive Potter CA No. 13-5407\Pieadings\Compl\lint\Richmond Motors -Justin Potter Amended Complaint.docx




                                                                       6
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 7 of 26 PageID #: 13




                                                                EXHIBIT                       AI
          r-; -. '(/'I/) y'{. .,                 RICHMOND MOTOR SALES AND RENTAL
      \    )        / (o            I   I .) )
                                        p 0 BOX 9043
                                PROVIDENCE    ~    Rl    02940
                    ~ '(V\ti~ Tel: 401-369-7779 or 401-228·7600
                              Fax: 401·369·7211 or401-521-2904




     NO'rJCE: This contract offers, for an ad·
     diUonal charge, a collision damage waiver
     to cover your responsibility for damage
     to the Vehicle. Before deciding whether
     lo purchase the collision damage waiver,
     you may wish to· determine whether your
     own automobile Insurance affords
     coverage for damage to the rental vell,lcJe,.v-'--."
     and the amount of the deductible
     your
     chaseown   Insurance
            of collision    coverage.
                         damage              not 1~::!f11~!nffl~~~~
                                      TheIs pur-
                                  waiver           i
                                                                   00---~==~=="0"$======-t---+----1
     mandatory under this contract.




                                                 Supplemanlalllablllty Insurance {Sll)
                                                 By Initialing below you agree to purchase or decline SLI
                                                 and you acknowledge receiving a separate brochure that
                                                 summarizes lhe terms ol the SLI policy. SLI does not
                                                 clivar all rlslis:ihere may be exclusions tor unauthorized
     The operator's valid collectible liability or
                                                 or Intoxicated drlvou, no flrsl party uninsured motorist
     self-Insurance providing coverage lor any   coverage, no ooverage lor certnln passengers In the Ve·
                                                 hlcla, and other exclusions. Please read tho SLI brochure
     third party liability claims shall be primary,
     and the valid and collectible liability or  carefully. II you decline to purchase Sll, you agree to be
                                                 primary responsible lor an damage or In lUI'/ you cause
     self-Insurance providing coverage or        to others or their property.
     llablllly protection for any third-party II·
     ability claims for the owner andlor lessor
     arising out of the operation of the vehicle
     shall be excess.                               ~~~~;;~~~;;~~~::r,~;=;;;;~:::'.:~==-~~~~=--~~~=:J



                 Authorized To Drive In
      •    Local 50/______ mlle radius only or
      •   Orlglna\lng   State, or
               Cnock Method ol Payment
             _ _ AE ._.MC _ _VISA
           ___ca~h .•._Direct Bill ··--.Other
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 8 of 26 PageID #: 14




        Rental Agreement Terms and Cpndltlons

           1. Definlllons. ''Agreement' means all terms and conditions found on both sides        6. lns\!renc~t. You are responsible lor all damage or loss you cause to olhe~s.
          of this form. 'You• or 'your" means the person Identified as I he renter elsewhere      You agree lo provide aulo liability, collision and comprehensive Insurance covering
         In fhls Agreement, any person signing this Agreement, any Authorized Driver and          you, us and the Vehicle. Where slate law requires us to provide auto ftabllity
          any person or organlzallon to Whom charges are billed by us at Its or the ranter's      Insurance, or II you have no aula liabftlly Insurance, we provide auto llabinty
          direction. All persons referred to as 'you" or "your' are jolnlly and severally         Insurance (\he "Polley") \halls secondary to any other valid and collectible
          bound by this Agreement• "We", "our" or 'us• means fhe business named on                Insurance whelher primary, secondel)l, excess or conllngenL ihe Polley
          the reverse side of this rental agreamenl "Aulliorized DMer" means the renter          .l?f.~yldes bodily Injury and properly damage llabUity coverage w\lh limits no
          and any addU!onal drivers approved and listed by us on this Agreement, and              higher than minimum levels prescribed by lhu vehicular financial responsiblllly
          any person defined as an authorized driver In a vehicle renlellaw or the state          laws ollhe Stale whose laws apply to the loss. You and we reject PIP, medical
          Where the Vehicle Is rented, provided thai pernon has a valid driver's license          payments, no-fault and uninsured and under-Insured molorlsl coverage, where
          and Ia a! least aga 21. ''Vehicle" means the aulomobUe or truck Identified In           permitted by law. Coverage applies In the United Slates and Canada. Coverage
          lhls Agreement and any vehicle we subslitule therefor, and' all lis tires, tools,       Is void If you violate lhe terms of this Agreemenl or If you faR to cooperate In
          accessories, equipment, keys and vehicle documents. "COW" means Collision               any loss lnvestlgallon conducted by us or our Insurer. Giving lhe Vehicle Ia so
          Dnmage WaiVer. "Loss of use' means the Joss of our abfllly lo use the Vehicle           unauthorized drlvor terminates coverage under lho Polley.
          for any purpose due lo damage to II, or loss of II, during this rental, Loss of use      7. ~You vAll pay us, or the appropriate gov.ernmenl authorllles, on
          is calculated by mu!Uplylng lha number of day& from the dele lha Vehicle Is              demand all charges due us under this Agreemen~ Including: (a) lime and mileage
          damaged until II Is replaced or repaired limes the daily rental rate.                     for the period you keep the Vehicle, or a mileage charge based on our expertence
           2. Rental. Indemnity and Warranties. This Is a contract for the rental of the           lf the odometer Ia tampered With. or disconnected: (b) charges for addillonat
           Vehicle. We may repossess lhe Vehicle a\ your e~pense wllhoul notice lo you,            drivers: (c) optional products and services you purchased; {d) fuel and a reluellng
           II the Vehicle Is abandoned or used In violation ol taw or this Agreement. You          charge, II you return the Vehicle wllh loss fuel than when rented: (e) applicable
           agree lo Indemnify us, defend us and hold us harmless from all claims, Jlablllly,       laKes; (I) all parking, \raffle and loll vlolallons, fines, penallles, forleltures, court
           costs and allorney fees we incur resulting from, or arising out of, lhls rental and     costs, lowing and storage charges and other expenses lnvoMng the Vehicle
           your use of lha Vehicle. We make no warranties, oxptl!Gs, Implied or                    assessed against us or lha vehicle; If you fall to pay the charging authority, you
           apparent, regarding the vehicle, no warranty ofmerchanlablllly and no                   will pay us the lull amount of the charges plus our administrative fee of $50 for
          warranty that lho vehicle Is Rl for a particular purpose.                                each vlolaUoo; (g) all expenses we Incur In locating and recovering the Vehicle
           3, Qood!l!on and Belurn pf \leh!cle, You must return the Vehicle to our rental          II you fall to return It or If we elect to repossess \he Vehicle under \he terms of
     ·.'~•.:i;iii'ceon the dale and lime specified ln\h\sAgreemenl, and In the same condition      this Agreement; (h) all costs, Including pre· and post-judgment allomey lees, we
           \hat you received II, except for ordinary wear. lithe Vehicle Is returned aller         lnour co»ecllng payment from you or otherwise enforcing or defending our rights
           closing hour.s, you remain responsible for the safety or, and any damage to, the        under !his Agreement; U) a 2% per month .tale payment lee, or the maximum
           Vehicle until we lnspeol II upon our nal\1 opening for business. Service lo lhe         amount allowed bylaw, on aU amounts past due: (k) $50 or the maximum amount
           Vehicle or replacement of parts or accessories during \he rental must have our          pormllted bylaw, whlchaver Is greater, If you pay uswllh a chOck returned unpaid
           prior aPProval, You must check and maintain all fluid levels.                           for any reason; and (I) a reasonable fee not to exceed $250 to clean lhu Vehicle
      ... .5......,Rasponslbllltv for Daoiage or Loss Reporting lo Police, You are                 If returned subslanllaUy less clean than When rented •
      ""'resp";;llslble for all damage lo, or lo$S or !hall of, the Vehicle, Including              8• .tl!!ml!ill., We may use your deposlllo pay any amounts owed to us for Rental
           damage caused by weather, road condlllons and eels of nature, whether or                 Charges under lhls Agreement.
           not you are attoull, You are responsible for the cost of repair, or the oclual           9, Your Property, You release us, our agents and employees from all claims lor
           cash retail value of the Vehicle on the data of the loss if the Vehicle Is not           loss of. or damage to, your personal property or !hal or any other psnson, that
           repairable orlfwe eleol nolle repalrthe Vehicle, loss of use, diminished value           we received, handled or stored, or thai was lelt or carried In or on \he Vehicle or
           of the Vehicle caused by damage lo II or repair of II, and our administrative            In any service vehicle or In our offices, whether or not the loss or damage was
                                                                                                    caused by our negllgenCI! or was otherwise our responsibility.
           expenses incurred processing the claim. You must report all accidents
                                                                                                     10. Brel!ch of Ameamant, The acts listed In paragraph 5, above. are prol:llbiled
           or Incidents of thell and vandalism to us end tile pollee es soon as you
                                                                                                    uses of lhe Vehicle and breaches of this Agreement. You waive an recourae
           dlscoy!![,,~hel!l:. -· .     ... . _.       ..          '·· . . . • .       .             against us lor any criminal reports or prosecutions thai we lake aga\nsL.you thai
            5. Damage Waiver. ·No\lco about liability for damage to the rente\ vehicle: the          arise out of your lireach of this Agreerioenl
            stale of Rhode Island requires us lo provldo the following Information about your        11. Modincallons. No term ollhts Agreement can be waived or modified except
            liability for damage to the rental vehicle and the purchase of a damage waiver.
                                                                                                     by a writing !hal we have signed, If you Wish to extend the rental period, you must
            l.lablllly for any damage lo the rental vehicle may be covered by your personal
                                                                                                     relum the Vehicle lo our rental office lor Inspection and Wrillen amendment by us
            Insurance policy or credit canl agreement. Check your Insurance policy or credit         of the due·ln date. This Agreement conslllules the entire agreem~nl between you
            card agreement about coverage, A damage waiver Is nol Insurance. You do                  end us. AU prior representations and agreements between you and us regarding
            not have lo purchase Ute dam!!ge waiver. You can decline H. If you purchase              this rental are vord.
            COW, we waive our rlghllo collect from you lor damage to \he Vehicle. COW                 12, Miscellaneous, A waiver by us of any breach ol thls Agreement Is not a
            Is not Insurance. Even If you buy the dnmage waiver, you and. any                        waiver of any addlllonal breach or waiver of the performance of your obllgallons
            Authorized Driver will remain liable for damage II: a).lhe Vehicle Is used:              under \his Agreement. Our acceptance of payment from you or our falluro, refusal
            (I) by anyono other than an Au\horlxed Dr{vor, avon If the unaulhorlxod                  or .neglect to exercise any of our rights under this Agreement doos no\ coneUiule
            driver Is using the Vehicle wllh th& renter's permission or accession:                • a waiver of any other provision ollhls Agreement. Unless prohibited by law, you
            {II) by an Authorized Driver whllu legally Intoxicated or under the Influence            release us .. from any liability for consequential, special or puniUve damages In
            of any Illegal drug or chemical ns doll ned or determined under the law of tho
                                                                                                     conneollon wllh this rental or \he reservation of a vehicle. II any provision of this
            state In wlllch damage to the Vohlcto occul'$; (II» by anyone who obtained               Agreement Is deemed vo\d or unenlorceable, the remaining provisions are valid
            tho Vehicle ·or obtained npproval as an Authorized Driver by giving us                   and enforceable.
            fraudulenllnlormetlon; (IV) by an Authorized Driver to commit a
            felony;,•(v) to carry persons or property for hire, to push or low nnythlng,
            or outside the United States or Canada, unless e Stale geographic
            reslrlctlon Is noted on the reverGe side of this agreement; (vi) by an
            Authorized Driver while engaging In any speed lost; b) damage lo, or loGs
            of, the Vehicle Is Intentionally, willfully or wantonly caused by nn
            Authorized Driver, or c) damage or toes ts Incurred If the vehicle Is stolen
            and tho renter or euthorlzod drlvor falls to return the orlglnallgnlllon koy,
             falls to file a pollen report within 72 hours of discovering the lhefl, or falls
            to cooperata wllh the rental company, pollee or other authorities In all
            malters connected wilh the Investigation of lhe lhofl.
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 9 of 26 PageID #: 15




        Rental Agreement Terms and CondltiQns

          1. Definitions. "Agreement" means all terms and condlllons found on both sides        6. ~. You are responsible fer all damage or loss you cause to other's.
         or this form. 'You• or •your" means the person ldenllfied as the ranter elsewhere      You agree to provide auto liability, collision and comprehensive Insurance covering
         In this Agreement, any person signing lhls Agreement, any Authorized Driver end        you, us and the Vehicle. Where stale law requires us to provide auto llabJUty
         any person or organization to whom charges are billed by us allis or the rente~s       Insurance, or if you have no auto !lability Insurance, we provide auto liability
        dlrecUon. All persons referred to as •you• or "your" are jolnUy and severally           Insurance (the .'PoUoyj that Is secondary to any other valid and cottecllble
        bound by this Agreement.· 'Y'/e", "oUI" or •us• means the business named on             Insurance whether primary, secondary, excess or conllngent. The Polley
        the reveme side of this rental agreemenL "Authorized Driver" means the renter           provides bodily Injury and properly damage liability coverage with limlls no
        and any add!Uonal drivers approved and listed by us on thl~ Agreement, and              higher than minimum level& prescnbed by the vehicular financial responsibility
        any person defined as an authorized driver In a )lehlcle rental law of the state        laws of the Slate whose la"ws apply to the tess. You and we reject PIP, medical
        where the Vehicle Is rented, provided that parson hae a valid driver's license          payments, no-fault and uninsured and under-Insured motorist coverage, where
        and ts at leaat age 21. "Vehicle" means the automobile or truck ldenlltlad In           permllled by law. Coverage applies In the United Slates and Canada. Coverage
        this Agreement and any vehicle wa subsUtute therefor, and' all Its II res, tools,       Is void If you violate the terms of this Agreement or If you fall to cooperate In
        accessortee, equipment, keys and vehicle documents. •cow• means Collision               any loss tnvesUgallon conducted by ua or our Insurer. Giving the Vehicle to an
        Damage Waiver, 'Loss of use" mean& the toss of our ability to use the Vehicle           unauthorized driver terminates coverage under the Polley.
        for any purpose due to damage to II, or loss of It, during this rental. Loss ol usa      1. ~You will pay us, or the appropriate government euthoriUas, on
        Is calculated by multiplying the number of days from the dale the Vehicle is             demand all charges due us under this Agreemen~ Including: (a) tlme and mileage
        damaged untllllla replaced or rapah:ed limes lhe dally rental rate.                      for the period you keep the Vehicle, or a mileage charge based on our experience
         2. Bl!nlel, lndemnllv and WammUea. This is a contract for the rental of the             If the odometer is tampered wlth.ar disconnected: (b) charges for additional
         Vehicle. We may repO!lsees the Vehicle at your expense without notice to you,           drivers: (c) optional products and services you purcheeed; (d) fuel and e refueling
         II the Vehicle ts abandoned or used In violation of law or this Agreement. You          charge, If you return the Vehicle with tess fuel than when rented: (e) applicable
         agree to Indemnify us, defend us and hold us harmless from an claims, liability,        taxes; (f) all parking, traffic and toll violations, fines, penal lies, forfeitures, court
        costs and attorney fees we Incur resu!Ung from, or arising out of, this rental and       costs, tawing and storage charges and other expenses Involving the Vehicle
        your use of the Vehicle. We mako no warranties, express, Implied or                      assessed agaln51 us or the vehicle; If you ran Ia pay the charging authority, you
         apparent, regarding the vohlole, no warranty of merchanlabltlly and no                  wilt pay us the full amount of the charges plus our administrative fee of $50 for
         warranty thnt the vohlcle Is Ill for a particular purpose.                              each violation; (g) all expenses we Incur In locating and recovering the Vehicle
         3. Condi!ion onrl Return or Vehfgle, You must return the Vehicle to our rental          If you fall to return II or If we elect lo repossess the Vehicle under the terms of
         office on the date and lime opacified In this Agreement, and In the same cond!Oon       this Agreement, (h) all costs, Including pre- and P!1St·]Utlgmenl allorney fees, we
         that you received II, except for ordtnerv wear. If the Vehicle Is nelumed after         Incur collecting payment from you or otherwise enforcing or defending our rlghls
         closing hours, you remain responsible for the safety of, and any damage to, the         under this Agreement U) a 2% per month.lale payment fee, ·ar the maximum
         Vehicle unUI we ln&pect It upon our next opening for business. Service to tho           amount allowed by taw, on all amounts past due: (k) $50 or tha maximum amount
         Vehicle or replacement of parts or accessonee durlng lhe rental must have our           permitted by law, whichever Is greater, If you pay us with a check neturned unpaid
         prior appro~al. You must check and maintain ail fiuld levels.                           for any reason; and (I) a reasonable lee not to exceed $250 to clean \he Vehicle
        4,. Besponslbllltv for Ramage or Loss Bepor!lngto Pollee. You are                        II returned substantially less clean than when rented.
      · ·reiipanslble for all damage to, or lose or theft of, the Vehicle, Including              8, ~ W& may use your deposit to pay any amounts owed to ua for Rental
         damage caused by weather, road conditions and acts of nature, whether or                 Chargee under this Agneemen~
         not you are at faun. You1ere responsible ror the cost of repair, or the actual           9, Your Prope!Jy, You release us, our agents and employees from all claims for
         cash retell value of the Vehicle on the dele or the loss If the Vehicle Is not          loss of. or damage to, your personal properly or that of any other person, that
         repairable or,lfwe elect nolle repair the Vehicle, loss ofuae, diminished value          we received, handled or stored, or thai was left or earned In or an the Vehicle or
         of the Vehicle caused by damage to II or repair of It, and our admlnlstraUve             In any aervlce vehicle or In our olllces, whether or not the loss or damage was
         expanses Incurred processing the claim. You must report all accidents                    caused by our negligence or wes otherwise our responsibility.
         or Incidents or theft and vandalism to us and the pollee as soon as you                   10. eraach of Agreement The acts listed In panegraph 5, above. are prohibited
         discover them,             ·                                                             uses of the Vehicle and breaches of this Agreement. You waive all recourse
                                                                                                  against us for any criminal reports or prosecutlona that we !eke against you !hal
          5. Damage Waiver. Notice about liability for ·dama·ge1o the renlahehlcle;. tile         arise out of your breach· of this Agra·amant
  .~-n 'stara· of Rhode fsiaiid uiq'IJlree"usto provide the following lnrOrmallon about your'
                                                                                                   11. ModlflC{!tlons. No term of this Agreomenl can be waivetl or modified except
          llabttlty for damage \o !he rental vehicle and the purchase of e damage waiver.
          Liability for any damage lo the rental vehicle may bl! covered by your personal       . by a writing the! we havo signed. If you wish to extend the rental period, you must
                                                                                                  retum the Vehicle to our rental office lor lnspeoUon and written amendment by us
         lnsunence polloy or credit card agree men~ Check your Insurance policy or credit
          card agreement about coverage, A damage waiver Is not tnsurence. You do                  of the due-In dale. ThlsAgrel\rnent constitutes the entire agreement between you
                                                                                                   and us. All ptlor representaUons and agreements between you and us regarding
          not have lo purcheee the damage w elver. You oan decline 11. If you purcha$e             this rental are void.
          COW,we waive our right to·collect from you for damage to the Vehicle. cow
                                                                                                    12. Mlsoellanqp\!?- A waiver by us or any bneach olthls Agreement Is not a
          Is not Insurance. Even If you buy the damage waiver, you and any
                                                                                                  waiver of any addiUonat breech or waiver of the performance of your obligations
         Authorized Drlvor will remain llnblo for damage If: a) the Vohlcle Is ueed1
                                                                                                   underthlsAgreemant Our acceptance of payment from you or our failure, refusal
         (I) by anyone other than an Authorized Prlvor, avon If tha unauthorized
                                                                                                   or .nll{llectlo exercise any of our rights under this Agreement does not constiiUte
          driver Ia U$lng the Vohic!o with tho rentor's permission or accas~ton;
                                                                                                • a waiver of any other provision or lhts Agreement. Unless prohibited by law, you
          (II) by an Authorized Driver while legally Intoxicated or under the Influence
                                                                                                   release us .. from any llabtnty for consequenUal, special or punitive damages In
          ofany Illegal drug or chomlcal as defined or doterrnlned under tho law of tho
                                                                                                   connection with lhla rental or the reserveUon of a vehicle. If any provision of this
          stato In which damegalo tho Vahlcto occurs; (Ill) by anyone who obtnlned
          the Vehicle or obtain ad approval as an Authorlwd Drlvor by giving us                    Agreement is deemed void or unenforceable, the remaining provisions are valid
                                                                                                   and enforueable.
          fraudulent Information; (Jv) by an Authorlzod Drlvor to commit a
          folony;.•(v) to carry parson& or property for hlro, to push or tow anything,
          or outnldo tho United States or Canada, unless a State geographic
          restrtctl.on Is notod on tho reverse side of this agreement; (vi) by an
         Authorized Driver while engaging In any speed tosl; b) damage to, or loss
          of, the Vehicle Is lntantlonally, willfully or wantonly caused by an
          Aulhorl%ed Driver, or c;) damage or lo5s Is Incurred If the vehicle I• stolon
          and tho renter or authorized driver falls to return the orlglnellgnlllon kay,
          falls to rue a pollee report within 72 hours of discovering the theft, or fall•
          to cooperate with tho rental company, potlco or other authorities In all
          matters connocted with the Investigation of the theft.
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 10 of 26 PageID #: 16




                                                                                                                                         NOTICE:
                                                                                          REGISTF\ATION                                  THE lAW REQUIRES THAT'TiiF REGISTRY
                                                                                          CERTIFICATE                                    SHALL BE tiOTIFIED WITHIN 10 DAYS 01'
  -;.;.;.;...;..;:.:.t,-:~~::::;;::__ _ _ _ _ _F_'R_'!_V_f'_·,T_E_F_'A_~_,S_·'----------------:--+-AN....Y-,.,.cHAf·IGE IN NAME OR ADDRESS.
                                                                                                                                             \'~                  ;·'ll
                                                           OWN!Efi'S OF!IVER'S LIC. NO,        REGISTRATION VALID
                                  REGISTRATION NO.
                                                     ~w         (IF INDIVIDUAl)              'THROUGH lAST DAY OF
                                                                                                                        I
    2:010                          ·~8~·424     v    01                                      OCTOBEr; 2<:lt...::                                 ~~                      ~
        .   :.
                                 OWNER:                                                                               --                              '.:.')   . I, .'




    HYUN                           RICHMOND I"ICITOR SAU::S ::Nc
    SON                            PO BOX 9043
                                   PF!OVIDENC:E       RI oz:;o•.ftj
     4DR ··
  ~T·  ..
    BRCiWN.
        832.1 .                    700 I\!ORTH       MAIN s·r
                                 vf<'F'<OVIDENC:E               RI 0'. :..:•4
  NPET 4·ACZAH1fo54/!.31 V                                                                                                           SERIAL
                                                                                                                                     NO.

                                                                                                                                         VAUO ONLY WHI:N DATE!D
                                                                                                                                    AND STAMPED WITH OFFICIAL STAM




                                I~          -- ) ~ l 1                                     j--}£

                                      WZA-~ l/V\_~
                                                                                                         .... ·....    . ~· •'1!:: ••.
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 11 of 26 PageID #: 17




                                                           Walk-Around Form


         Date Out      ~ I ~ I \:)                                         Date In          I

         Time Out       \'d- : '"S...?                         AM     @    Time In                                  AM         PM

         Odometer Reading               4 S9 l.k.                          Odometer Reading

         Gas Out     E .1/8    @        3/8 1/2            5/8 3/4 7/8 F   Gas Out E 1/8          114 3/8 112 5/8 3/4 7/8 F

                           'Ji!~ Customer is responsible
         _ _ Customer has CD~                         . for damage
                                        ,;.




         Exterior _ ___,('=.  "'"}~cr.~·""--'-----                                        RIGHT




         Tires          l/C5K                 Fair
         Jack           v-6i(_ Fair                             FRONT
                                                                                                                                          REAR
         Spare          v6K_ Fair
         Gas Cap       .\.......OK            Fair
         Hub Cap # 0          1 2       3 @')
                                                                                            LEFT
         Headlights _"-di(

         Tail Lights ~                                                                x -dent
                                                                                      a -scrape
         Interior    cJC--""~
                  ------------------
            I accept this vehicle and acknowledge that all damage has been inspected by the rental
             agent and myself and it has been noted on this acceptance sheet.

                                              /"-'r::3   --:;;? -·.   ~,.?~­
           Renter's Signature. ~.-1~~                           / ~·-:t              Date -----'-j--.:      . .". _ _!_jl__
                                                                                                          _?£
                                /C~~
                               L,/r'"

            Agents Signature~_,_\-
                                 __VY\.;_;_:_"".c:.:"'c..."'\_\_..,_ _ _ _ _ _ __    Date ..~/                8       I    I2>
            Contract#_ _~_.f\-- d-b                'i? \??                     Vehicle#
                                                                                       ---~~---------
                                                                                                     d· 8'J
            FORM WA-02..()2
                                                                                           P 0 Sox 701, Valley Forge. PA 19482
                                                                                                800 722-3229 FAX 610 933-4993 •
                                                                                                                                 ~Q"krl'
                                                                                                                                    Ml' I
                                                                                                                                 > •v••••- .!J
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 12 of 26 PageID #: 18
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 13 of 26 PageID #: 19




                                .   ~~




                      '··· ..   ·




         c::::::::.
         c::::J
          00

         ~
         ~
                                                                            ~K.,~l·
                                                                               -·     ,"'•.



                                                                              ~':-;
       Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 14 of 26 PageID #: 20




··,·




                                                                    'L
                                                                    :.:·       i·

                                                ,;~i~~).<·'•o•.lil:,,.',-'· ~Y.-:':~~.:,_;;.~~'""''~~~0.:
                                                                           . :~c.!
                                                                                    ··,,~'




                                  :~·
                                   ·,
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 15 of 26 PageID #: 21




                                                                   ::i:~··




                                                                                    ~· ··~




 . ·:·




         ~-
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 16 of 26 PageID #: 22
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 17 of 26 PageID #: 23
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 18 of 26 PageID #: 24




                                                                          (
                                                                         ,,,
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 19 of 26 PageID #: 25
                                        Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 20 of 26 PageID #: 26




, .. 'J"tr.'t'i"",   ...i.: ...... '_




                                                                                                                            . ··-J




                                                                        ...   ,
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 21 of 26 PageID #: 27




                                                                                  !:· r.·"
                                                                                           ·'


                                                                                  .$~:~~;':~·-



                                                                          :.. ·
                                                                         ··:."




                                                                    .... -:---... _.. ..          .:J
                                                                                                ·.~
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 22 of 26 PageID #: 28
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 23 of 26 PageID #: 29




             .   :.   .:



-~:~)::.>.<~v . ·:. ·, _
 /·=· . '
      ....
                           ..~· ..

                                     •;   ·.
                                               ....
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 24 of 26 PageID #: 30
Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 25 of 26 PageID #: 31
       Case 1:14-cv-00019-JJM-LDA Document 1-2 Filed 01/10/14 Page 26 of 26 PageID #: 32




~-.·
